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AO9\ (Rev. lllll) Climina| Ccmpluint

UNITED STATES DISTRICT COUBT_____ __ w_____`__ _-

 

 

 

for the iii' r - ..
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Eastem District of Vtrgmta ! ; §§j , _ _
` t ~ , hug | 5 20|8 ‘ ;
United States of America ) ~ t
v. ` ) C N leg .- l .. ..& .. .;. ' .\..-,. .C_o_é|RT-
Minor Adermi Peralta-Ferez`, alkla Jose Me]ia Laral ) asc °' ' ,]'-_ ` 'B§-'»N-L_-A
alkla Amilcar Lara and § 18‘MJ'393 "O .,
Mynor Alexander Me]ia Benttez alkla Mynor _, , __ )
Alexander Me]ia § (M l 3 2 (/(H 2 M
Deféndant(:) n
CRIMINAL COMPLAINT ,
I, the complainant in this case, state that the following is true to the best of my knowledge and beliet`.
On or about the date(s) of June 2017 through Aggust14. 2018 in the county of Frince'W_tlliam in the
Eastem Distt'ict of . W[ginia , the defendant(s) violated:
Code Section G_Fénse Descr!ption

21 USC 841(3)(1) and 848

This criminal complaint is based on these facts:

Conspiracy to Distribute 500 grams or more of Comtne

SEE ATTACHED AFF|DAV|T.

d Continued on the attached sheet.

Sworn to before me and signed in my presence.

ba.e= _j!¢q¢§__

City and state:

A|exandria, Vlrg|nta

"W/M»/%£I

Camp!ainanl’ s signature

Task Foroe Ofiicer Richard O'Donne||, DEA
Prlnted name and ll|!e

 

` "`]s?" ' us
Michael S. Nachmanott' `
___United.$tatesMagiS!¢a!B-Judgd-____

Judge s signature

Hon. M|chae| S. Nachmanoff. Magisttate Judge
- Prfn|ed name and title

' " MINOR ADERMIPERALTA- PEREZ

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IN THE UNITED STATES DISTRICT COU{R.T FOITI'H"Z
EASTERN DISTRICT OF VIRGH`\IIA

  

......

Alexandria Division
UNITED STATES OF AMERICA
v.

MYNOR ALEXANDER MEJIA BENITEZ
a/k/a/

“MYNOR ALEXANDER MEJIA”

“MYNOR ALEXANDER MEJIA-BENITEZ,"

Crlmmal No 1218-MJ-393'_~ _" .

w 13 zeez~z</c).

and

a/k/a/
“JOSE MEJlA LARA”
“AMILCAR LARA,”

v\/\./\_/\-/\-/\./V\-/~' VV`-¢\_/V\_/`.I

Defendants.
AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Richard G. O’Donnell, Task Force Off'tcer of the Drug Enforcement Administration
(DEA), Washington Division Off`tce (WDO), Washington, D.C., being duly sworn, depose

and state the following:
lNTRQDUCTtON

1. _I am “an investigative or law enforcement officer” of the United States within
the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United
States who` is empowered by law to conduct investigations of and to make arrests fo`r offenses
enumerated m Section 2516 of Title 18, United States Code. 1 have been a State Police

Trooper/Narcotics Agent with the Virgim`a_ State Police for approximately 1 1 years and have

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spent the last six years as a Special Agent assigned to the Virginia State Police Bureau of
Criminal Investigations Narcotics Section. On April 12, 2017, I was federally deputized as a
Task Force Ofiicer with the Drug Enforcement Administration’s Washington Division Office
and have been assigned to the High Intensity Drug Traiiicking Area Northem Virginia Drug y
Initiative for over one year. -

2. During my time in law enforcement, 1 have participated in the application for
and execution of numerous arrest and search warrants in the investigation of narcotics and
organized crime related offenses, resulting in the prosecution and conviction of numerous
individuals and the seizure of illegal drugs, drug proceeds in the form of bulk U.S. currency,
weapons, and other evidence of criminal activity. As a narcotics investigator, I have
interviewed many individuals involved in drug trafficking and have obtained information
from them regarding the acquisition, sale, importation, manufacture, and distribution of
controlled substances Through my training and experience, 1 am familiar with the methods
used by traffickers of controlled substances and the nature and appearance of illegal narcotics. '
l have received extensive training in drug identification, drug distribution methods, and drug
enforcement techniques from various federal, state, and local agencies

3. Based upon this experience, I have become knowledgeable of the methods and
modes of narcotics operations, and the language and patterns of drug abuse and trafticking.
During the course of my participation in investigations of narcotics trafficking organizations, I
have testified in trial, grand jury proceedings, and at preliminary hearings Through my
employment with the Virginia States vPolice and tenure with the DEA as a task force ofticer, l
have gained knowledge in the use of various investigative techniques, including the use of

wiretaps, physical surveillance, undercover agents, confidential infonnants, cooperating

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witnesses, the controlled purchases of illegal narcotics, electronic surveillance, consensually

monitored recordings, investigative interviews, financial investigations, the service of \

administrative and grand jury subpoenas, and the execution of search and arrest warrants.

4. This affidavit is made in support of a criminal complaint charging MYNOR
ALEXANDER MEJIA BENITEZ, a/l</a “Mynor Alexander Mejia” (herein MEJIA
BENI'I`EZ), and MINOR ADERMI PERALTA-PEREZ (herein after PERALTA-PEREZ),
a/k/a “Amilcar Lara,” a/k/a “Jose Mejia Lara,” with distribution of five-hundred (500) grams
or more of a mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance, in violation of Title 21 , United States Code, sections 841(a)(l) and 846.

5. The information contained in the affidavit is not intended to include each and every
fact and matter observed by me or known to the United States. The facts and information
contained in this affidavit are based upon my personal knowledge and information obtained
from other law enforcement officers and witnesses All observations referenced in_ this
affidavit that were not made by me were relayed to me by the person who made such

observation This affidavit contains information necessary to support probable cause for this

application.
STATEMENT 01= PROBABLE CAUsE
Cooperating Sources
6.. Law enforcement officers used two cooperating sources (hereinafter “CS-l ”

and “CS-Z”) during this investigation For the purposes of this affidavit, the confidential
sources will be referred to in the masculine, regardless of actual gender. CS-l has provided
information Which has proven to be truthfiil and against his own penal interests, and which, to

the extent possible, has been corroborated through various investigative techniques, to include

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analysis of telephone toll records, recorded conversations, and various surveillance '
techniques. CS-l is a regular-use paid confidential source and has been proven and deemed
to be reliable by law enforcement officer’s independent investigative means. ln_fonnation
provided by CS-l has been verified whenever possible by multiple independent resources, as
well as by me, and was found to be truthfill. CS-l has had a relationship with the Arlington
County Police Organized Crime Unit since 2013 and since then, CS-l has provided
information that has led to the arrests of individuals and the seizures of money and illegal
narcotics. CS~l has also worked with the DEA' and Fairfax County Police, and the
information provided led to the arrest of individuals and the seizures of money and illegal
narcotics. CS-l has a criminal record, which consists of felony hit and run, felony destruction
of property, felony assault on law enforcement in 2011, and a misdemeanor reckless driving
conviction in 2017. Additionally, CS-l is gainfully employed. The information provided by
CS- l, has never been found to be false or misleading For these reasons, 1 consider C§-l to
be reliable.

7. CS-2 has provided information to the Arlington County Police Department,
which has been proven to be truthful and against his own penal interests, and which, to the
extent possible; has been corroborated through various investigative techniques, including
analysis of telephone toll records, recorded conversations, and various surveillance
techniques CS-2 has been proven reliable and deemed to be reliable by Detectives with the
Arlington County Police Department. CS-2 has had a relationship with the Arlington County \
Police Department’s Organized Crime Unit since 2017. While CS-2 was being used by law
enforcement, he was gainfully employed and had no felony convictions or crimes of moral

turpitude on his criminal history. On October 7, 2017, CS-2 was arrested by the Arlington

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Police Department for Felonious Malicious/Unlawful Wounding. Once members of the
Arlington County Police Department’s Organized Crime Unit discovered this information,
CS-2 was immediately deactivated as a confidential source and has not been used in any facet
of this investigation since then.

Background of the Investigation

8. ln June of2017, Arlington County Police (ACPD) Detectives began an
investigation into a cocaine source of supply that was distributing quantities of cocaine in
Arlington, Virginia, within the Eastem District of Virginia. CS-l identified a Hispanic male
known to him as “Minor,” as the main source of supply of cocaine in the investigation
Additionally, CS-l said “Minor” was selling ounce quantities of cocaine and was using the
cellular telephone number, 571-245-2489, to facilitate his illegal narcotics enterprise.

9. A query of law enforcement databases and social media websites were made
into the phone number used by “Minor.” The results of the queries identified “Minor” as
possibly being Jose MEJIA LARA, a.k.a. Amilcar LARA. It should be known that Jose.
MEJIA LARA was later identified as Minor Adermi PERALTA-PERE`Z (herein after referred
.to as PERALTA-PEREZ). PERALTA-PEREZ, a.k.a. Jose MEJIA LARA, a.k.a Amilcar
LARA was described as a white Hispanic male with a date of birth of August 28, 1974. CS-l
was shown a non-descript photograph of PERALTA-PEREZ, a.k.a. MEJIA LARA, which '
was located on a publically accessible social media website, and CS-l positively identified

that pictured subject as the person he knew to be “Minor,” and the subject he knew to be

selling cocaine.

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CS-] Purchase of Cocaine from Peralta-Perez on June 30, 201 7

10. On June 30, 2017, ACPD Detectives conducted a controlled purchase using
CS~l in Arlington, Virginia within the Eastem District of Virginia. Under the direction of law
enforcement, CS-l~ had previously arranged to purchase 3.5 grams of cocaine from
PERALTA-PEREZ. Prior to the meet, CS-l ’s person and vehicle were searched and found to
be free of money and contraband CS-l was then given $200 in pre-recorded Arlington
County evidentiary funds for the purchase of cocaine. CS-l was followed to a predetermined
v meeting location, where he would wait for PERALTA-PEREZ. A brief time later,
PERALTA-PEREZ was observed arriving in ablack Lincoln Navigator bearing a Virginia
registration of VXJ-6844. CS-l entered the black Navigator~ and a short time later,
PERALTA-PEREZ was observed exiting the vehicle and going to the rear cargo area of the
vehicle to retrieve an item, after which he then immediately returned to the front driver’s seat.
CS-l exited the vehicle and parted ways with PERALTA-PEREZ. CS-l was then followed
by law enforcement to an undisclosed location where he immediately relinquished
approximately 3.5 grams of suspected cocaine to law enforcement, CS-l said that
PERALTA-PEREZ went to the rear of his vehicle to retrieve the cocaine and said that he
observed more cocaine in the vehicle. CS-l ’s person and vehicle were searched again and
found to be free of money and contraband A small portion of the suspected cocaine was field
tested by ACPS Detectives and the results were positive for the presence of cocaine
hydrochloride

CS-2 Purchase of Cocaz'ne from Peralta-Perez on July 28, 2017
l l. On July 28, 2017, at the direction of ACPD Detectives, CS-Z conducted a

controlled purchase of 3.5 grams of cocaine from an unindicted co-conspirato`r (herein

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v

referred to as UCC-l and in the masculine regardless of gender), in arlington, Virginia.
Before the encounter, CS-2 and his vehicle were searched and found to be free of money and
contraband CS-2 was provided with $225 in pre-recorded Arlington County evidentiary
funds. CS-2 advised law enforcement that UCC-l was currently out of cocaine but that UCC-
l contacted PERALTA-PEREZ to purchase the desired amount of cocaine for CS-2.l CS-2
was followed by law enforcement as he met with UCC-l at a location in Arlington, Virginia.
During the meeting, CS-2 fronted the pre-recorded evidentiary purchase funds to UCC-l. v
UC_C-l left their location and was followed with unbroken surveillance by law enforcement to
another location in Arlington, virginia io` moot with PERALTA-PEREZ.

12. Law enforcement was simultaneously conducting surveillance on PERALTA-
PEREZ, who at the time was a passenger in a black Lincoln Navigator, bearing Virginia
registration of VXJ-6844, which was being operated by another unindicted co-conspirator
(herein referred to as UCC-2 and in the masculine regardless of gender). Law enforcement
observed UCC-l meet with PERALTA-PEREZ and UCC-2 at a second location in Arlington,
Virginia. UCC-l was observed getting into the black Navigator with PERAL'I`A-PEREZv and
UCC-Z. While PERALTA-PEREZ, UCC-l, and UCC-2 met, law enforcement maintained
surveillance on the vehicle until UCC-l exited.

13. After exiting the vehicle, UCC-l contacted CS-2 to arrange the pick-up of the
desired cocaine. Law enforcement continued surveillance on UCC-l until he met with CS-2
in Arlington, Virginia. UCC-l provided CS-2 with the suspected cocaine, which was
purchased from PERALTA-PEREZ. Aiier parting ways with UCC- l, CS_- 2 was followed to _.
an undisclosed location where he immediately provided law enforcement with appronimately '

3.5 grams of suspected cocaine and $25 in unspent pre-recorded evidentiary purchase funds.

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CS-2 and his vehicle were searched again and was found to be free of money and contraband
A small portion of the suspected cocaine was field tested by ACPD Detectives and the results
were positive for the presence of cocaine hydrochloride

14. On July 28, 2017, after the controlled purchase with CS-2, CS-l contacted
PERALTA-PEREZ and placed an order for a larger amount of cocaine. PERALTA-PEREZ
said that he was traveling to his cocaine source's home and would pick up the requested
cocaine for him. Law enforcement was able to reestablish surveillance on the black Lincoln

'Navigator, now being operated by PERALTA-PEREZ as it traveled south on Interstate 95
towards Woodbridge, Virginia. The Lincoln Navigator was eventually located, parked in
front of the Woodbridge Residence. CS-l informed law enforcement that they had spoken
with PERALTA-PEREZ and he explained that he had reached his source of supply’s

- residence,_ but would not be traveling back to Arlington until the following day._PERALTA-
PEREZ said he would provide CS-l with the cocaine at a later date.

15. Following the surveillance of PERALTA-PEREZ at the Woodbridge'
Residence, an administrative subpoena for PERALTA~PEREZ’s phone was served on it
carrier, T-Mobile USA. A high frequency report was generated for PERALTA-PEREZ’$
most frequent contacts. Analysis of the frequency report identified the phone number of 571-
351-71 ll as being a frequent contact of PERALTA-PEREZ.

16. Law enforcement served an administrative subpoena on 571-351-71 l l
requesting subscriber information The number was shown registered to a Mynor A Mejia
Benitez (herein after MEJIA BENITEZ) with an address of 1902 Fox Street Apartment 202
Adelphi, Maryland 20783. Law enforcement learned that the listed address of 1902 Fox 1

Street Apartment 202 Adelphi_, Maryland 20783 was a previous address for MEJIA

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BENITEZ. Current law enforcement databases and public record checks listed the
Woodbridge Residence, as the current residence ofMEJIA BENITEZ. This is also the
address where PERALTA-PEREZ was observed by law enforcement on July 23, 2017, when
he told the CS-l that he Was being resupplied with cocaine by his source. l

‘ CS-] Controlled Purchase of Cocaine from Mejia Bem'tez on Augus¢ 31, 2017

l7. On August 31, 2017, under the direction of law enforcement, CS-l contacted

PERALTA-PEREZ and arranged to purchase one-half ounce of cocaine directly from
PERALTA-PEREZ’s source. Prior to the deal, CS-l met with law enforcement where his
person and vehicle were searched, and both were found to be free of money and
contraband CS-l was subsequently provided with $670 pre-recorded U.S. currency and
_ audio transmitting and recording equipment CS-l was followed by law enforcement as he
left an undisclosed location and drove to a predetermined meeting location where he met with
PERALTA-PEREZ. As CS-l anived on scene, PERALTA-PEREZ arrived operating the
black Lincoln Navigator. PERALTA-PEREZ entered CS-l ’s vehicle and they were followed
fi'om the predetermined location as they traveled south on Interstate 95 towards Woodbridge,
Virginia. While in CS-l ’s vehicle, PERALTA-PEREZ could be heard making phone calls to
an individual believed to be his cocaine source of supply, stating that he and CS-l were on the
way to his residence. CS-l ’s vehicle was followed by law enforcement to Woodbridge,
Virginia, wherehe was observed parking outside of the Woodbridge Residence. Both CSal
and PERALTA-PEREZ exited the vehicle and entered the resi_dt.:;nce_t A `short;time later, _C_S-l
and PERALTA-PEREZ exited the woodbridge Residenoo and`oniatad csi-i"»s _vetiio'ia. fan
enforcement followed the vehicle as it traveled back to Arlington, Virginia, where CS-l

dropped PERALTA-PEREZ off at his vehicle. CS-l was then followed to an undisclosed

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location where he immediately provided law enforcement with approximately a half ounce of
suspected cocaine. CS-l and his vehicle were searched again and found to be free of money
and contraband CS-l was shown a non-descript photograph of MEJIA BENITEZ. CS-l
positively identified the subject in the picture as the individual who had just sold him cocaine
inside the Woodbridge Residence. The cocaine was submitted to the DEA Mid-Atlantic
Laboratory for testi`ng, storage, and safekeeping The laboratory results indicated that the net
weight contained approximately 13.85 grams of cocaine hydrochloride.

18. Aher the controlled purchase, law enforcement submitted administrative
subpoenas for PERALTA-PEREZ’s phone and MEJIA BENITZ’s phone. Toll analysis
continued that PERALTA-PEREZ used his phone and contacted MEJIA BENITEZ several
times while he and CS-l were traveling to the Woodbridge Residence. The times of these
calls were confirmed in the recording of the transaction.

CS-1 Controlled Purchase of Cocaine fi‘om Mejia Bem'tez on September 14, 2017

19. During the week of September 9, 2017, law enforcement instructed CS-l to
contact PERALTA-PEREZ to arrange a purchase of cocaine from MEJIA BENITEZ. CS-l
engaged in consensually recorded text communication with PERALTA-PEREZ, during which
he arranged for a transaction of two ounces of cocaine. The text messages, which were in
Spanish, were reviewed by a Spanish-speaking DEA agent. The Spanish-speaking agent
provided summaries of the conversations,' but not verbatim translations. The following are
portions of the conversations between CS-l and PERALTA-PEREZ during which they plan

the cocaine transaction, which took place on September 7, 20l 7.

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From: CS-`l

To: PERALTA-PEREZ

CS-l:

CS-l:

PERALTA-PEREZ:
CS-l :
PERALTA-PEREZ;
cs-1 z

_ CS-l :

PERALTA-PEREZ:

CS-l:

I want the price of the onions

Should we talk in person or through the telephone, you’re the
one the knows.

Do you want an entire onion.
Depends on the price.

Do you want an entire onion.

Prices old man.

¥es, it’s the stuff fi'om the South..

There’s no (unknown) old man, I just wanted to know if you
wanted the onion or the half

I just for the check from BMW from the accident. l already
deposited it. It’s going to take 5 to 7 days to clean it self. I’ll
give you 2400 for 2, more or less Wednesday of Thursday.

20. On September 14, 2017, CS-l met with law enforcement to conduct a »

controlled purchase of cocaine from MEJIA BENITEZ. CS-l and his vehicle were searched

and found to be free of money and contraband CS-l was subsequently given $2,600 in pre-

recorded U.S. currency. CS-l was followed by law enforcement as he left the undisclosed

location and drove to a predetermined meeting location where he met with PERALTA-

PEREZ. PERALTA-PEREZ then entered CS-l ’s vehicle, and he and CS-l were surveilled by

law enforcement as they drove south on lnterstate 95 towards Woodbridge, Virginia. While

driving, PERALTA-PEREZ could be heard talking on the phone to an individual believed to

be his source, saying that he and CS-l were on the way. CS-l was observed stopping in front

of the Larkin Drive property. CS-l and PERALTA-PEREZ both exited the vehicle and

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entered the Larkin Drive property. While CS-l and PERALTA-PEREZ were inside, law
enforcement maintained surveillance on the residence. Aftcr a brief period of time, both CS-l
and PERALTA-PEREZ were observed exiting the residence and entering CS-l ’s vehicle.
CS-l and PERALTA-PEREZ were followed back to the pre-determined meeting location
where PERALTA-PEREZ was dropped off. CS-l was then followed back to an undisclosed
location where he immediately provided law enforcement with approximately two ounces of
suspected cocaine. Law enforcement searched CS-l and his vehicle for money and
contraband with negative results. CS-l confirmed that he had purchased the cocaine directly
from MEJIA BENITEZ. CS-l also said that the Larkin Drive property appeared to be MEJIA
BENITEZ’s new residence. The cocaine was submitted to the DEA Mid-Atlantic Laboratory
for testing, storage, and safekeeping. The laboratory results indicated that the net weight
contained approximately 55.52 grams of cocaine hydrochloride.

CS-] Controlled Pur`chase of Cocaine from Mejia Bem`!ez on October 12, 201 7

21. On October 12, 2017, under the direction of law enforcement, CS-l contacted
PERALTA-PEREZ and arranged to purchase three ounces of cocaine. Prior to the deal, CS-l
met with law enforcement where his person and vehicle were searched and found to be free of
money and contraband CS~l was provided with $3,900 in pre-recorded U.S. currency. CS-l
was followed by law enforcement as he picked up PERALTA-PEREZ in his vehicle. After
PERALTA-PEREZ entered CS-l ’s vehicle, the two were surveilled by law enforcement as
they drove south on lnterstate 95 towards Dumf`ries, Virginia and the Larkin Drive property.
CS-l was observed by law enforcement parking in front of the Larkin Drive property. CS-l
and PERALTA-PEREZ were observed exiting the vehicle and entering the residence. After a
short period of time, both CS-l and PERALTA-PEREZ were observed exiting the residence

and entering CS-l ’s vehicle. CS-l and PERALTA-PEREZ were followed back to the pre-
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determined meeting location, where PERALTA-PEREZ was dropped off. CS-l was followed
to an undisclosed location where he immediately provided law enforcement with
approximately three ounces of suspected cocaine. CS-l and his vehicle were searched again
and found to be free of money and contraband CS-l confirmed that he had purchased the
Suspected cocaine directly from MEJIA BENITEZ using the pre-recorded U.S. currency. CS-
1 also explained that as in previous buys, PERALTA-PEREZ acted as a middle man and
brokered the deal between CS-l and MEJIA BENlTEZ. The cocaine was submitted to the
DEA Mid-Atlantic Laboratory for testing, storage, and safekeeping The laboratory results
indicated that the net weight contained approximately 83.5 grams of cocaine hydrochloride.

22. During the week of November 5, 2017, CS-l met with law enforcement
During this meeting, CS-l received an unexpected phone call from PERALTA-PEREZ.
During this documented conversation, CS-l explained to law enforcement that PERALTA-
PEREZ said that he and MEJIA BENITEZ had recently received high quality cocaine and
were inquiring if CS-l wanted to purchase some. PERALTA-PEREZ continued and said that
he and MEJIA BENITEZ were trying to collect money so they could make another purchase

v of cocaine soon. Because the phone call was unexpected, law enforcement was unable to
make a recording of this phone call, but the conversation was made in the presence of law
enforcement,
Surveillance ofMejia Benitez

23. On October 18, 2017, law enforcement established surveillance outside of the
Larkin Drive property. While watching the residence, a Hispanic male wearing a white t-shirt
and jeans was observed exiting the Larkin Drive property and entering a red Chevy

Avalanche bearing Virginia registration VZF-6557. The Hispanic male then returned to the

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Larkin Drive property and out of view of law enforcement, A short time later, the same
Hispanic male, and three other unidentified individuals again exited the Larkin Drive property 7
and entered the Chevy Avalanche again. The Hispanic male wearing the white t-shirt entered
the front passenger’s seat and the vehicle exited the drive way. While following the vehicle,
law enforcement was able to positively identify the Hispanic male wearing a white t-shirt and
jeans and sitting in the front passenger seat as Mynor MEJIA -BENITEZ.

24. ) An inquiry with the Virginia Department of Motor Vehicles was conducted on
the red Chevy Avalanche bearing Virginia registration VZF-6557. That vehicle returned _ _
registered to a Tiffany Abigale MARTTNEZ CONSTANZA, a white Hispanic female with a
date_of birth of December 22, 1993 and a listed address of 17235 Larkin Drive Dumfries,
Virginia 22026. Public source databases also show a previous address for MART[NEZ
CONSTANZA as 14702 Blair Court Woodbridge, Virginia 22193.

25. Throughout the course of this investigation, law enforcement learned that
MEJIA BENITEZ was married to Tiffany MARTINEZ CONSTANZA. An inquiry into
publically available information on social media websites, showed that MEJIA BENITEZ and
MARTINEZ CONSTANZA identified _as being manied to each other and they have two
small children in common. l

CS-] Controlled Purchase of Cocaine from Mejia Bem`tez on November 30, 2017

26._ On November 30, 2017, under the direction of law enforcement, CS-l contacted
PERALTA-PEREZ, and arranged to purchase three ounces of cocalnefrom MEJIA j 71 . ` z
BENITEZ. Prior to the deal, CS-l met with law enforcement where he and his vehiclewere
searched and found to be free of money and contraband CS-l was subsequently provided
with $3,900 in pre-recorded U.S. currency. Prior to CS-l departing the undisclosed location,

surveillance units observed the black Lincoln Navigator, which was operated by PERALTA-
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PEREZ, at the Larkin Drive property. Shortly after, surveillance units also observed MEJIA
BENITEZ arrive at the Larkin Drive property. CS-l was followed by law enforcement from
the undisclosed location as they drove to the Larkin Drive property and entered the residence.
Aiier a brief period of time, CS-l was observed exiting the residence and entering his vehicle.
CS-l was followed back to an undisclosed location where he immediately provided law
enforcement with approximately three ounces of suspected cocaine. Law enforcement
searched CS-l and his vehicle for money and contraband, again with negative results. CS-l
confirmed that he purchased the suspected cocaine directly from MEJIA BENITEZ using the
provided U.S. currency. CS-l explained that once again, PERALTA-PEREZ brokered the .
deal between CS-l and MEJIA BENITEZ. The cocaine was submitted to the DEA Mid-
Atlantic Laboratory for testing, storage, and safekeeping The laboratory results indicated that
the net_ weight contained approximately 82.7grams of cocaine hydrochloride.
CS-I ’s Communications with Peralta-Perez on December 21, 2017

27. On December 21, 2017, law enforcement agents instructed CS-l to arrange a
purchase of cocaine from MEJIA BENITEZ. CS-l engaged in a consensually recorded
telephone call with PERALTA-PEREZ, during which they discussed a drug transaction of six
ounces of cocaine for $7,300 in U.S. currency. The conversation, which was in Spanish, was
reviewed by a Spanish-speaking DEA agent. The Spanish-speaking agent provided
summaries of the conversation, but not verbatim translation. The following are portions of
the monitored consensually recorded telephone conversation between CS-l_ and_PERAL'l`A- `

PEREZ during which PERALTA-PEREZ discusses the future sale of cocaine to CS-l.

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From: CS-l

To: PERALTA-PEREZ

PERALTA-PEREZ: Yes, let me know how many you want and soon we will get you

cs_i;

PERALTA-PEREZ:

PERALTA-PEREZ:

CS-l:

4 PERALTA-PEREZ:

CS-l:

a price.

That’s what l wanted and later we will get together around there
to have a drink over there [the Larkin Drive property]
understand?

No, no, tomorrow We arc over around the house, where the park
is where I live now, So then let me call you.from there because
(inaudible). . .

Ok, come on, I‘ll call you after (inaudible)

Oh no, then its fine then. 7400 for the six.. ..

That’s fine old man, tomorrow we will catch up in the park, ok?

Ok, then we will talk when you call me in the afternoon and we
will get together to see what’s up.

CS~I 's Communications with Peralta-Perez on Jcmua)y 22, 2017

28, On January 22, 2017, at the request of law enforcement, CS-l was instructed to

contact PERALTA-PEREZ and confirm an upcoming purchase of six ounces of cocaine from l

MEJIA BENITEZ. CS-l engaged in a consensually recorded telephone call with PERALTA-

PEREZ. The conversation, which was in Spanish, was reviewed by a Spanish-speaking DEA

agent. The Spanish-speaking agent provided summaries of the conversation, but not verbatim

translation. The following are portions of the monitored consensually recorded telephone

conversation between CS- l and PERALTA-PEREZ during which PERALTA-PEREZ

discusses the future sale of cocaine to CS-l .

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From: CS-l

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To: PERALTA-PEREZ

CS-l: OK, so l am calling because there’s cash for Wednesday. My money from the

PERALTA-PEREZ

CS-l:

PERALTA-PEREZ:

CS-l:

PERALTA-PEREZ:

CS-l:

PERALTA-PEREZ:

CS-l:

PERALTA-PEREZ:

CS-l:

PERALTA-PEREZ:

CS-l:

PERALTA-PEREZ:

snow has come and give it until Wednesday to go through. 1
have the rest here and the rest there so for Wednesday I think
we are going to pick up the six.

: Ah, let me say some filings to Mynor (MEJIA BENITEZ). That

depends on the quantity 74..

1 have the cash. Good whatever you want, lam going to bring
the 74 and we will talk there, calm down.

74...for each piece 1400.. ..

No, no, no, it’s all ready. Listen to me, 1 am calling you to tell
you that we are ready for Wednesday. Tomorrow I will send
you a message only and I’ll tell you tomorrow what time we
will see each other there, you ldiow that.

OK well that’s fine so then I will have to start making the
rounds. '

OK so them I’m calling you two days before so that you see that
I am correct.

We are at Mondayi..”l`uesday ..... Wednesday. We will stick
with Wednesday.

Wednesday in the attemoon. ..

OK, we will close the deal at 7400.
That’s fine, let’s leave it like that, 7400.
GK, so you want the 6 then?

The 6 and on Wednesday afternoon, you know that.

Well that’s fine.

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CS-I Controlled Purchase‘ofCocar'neji'om Mejia Benitez on January 24, 2018

29. On January 24, 2018, law enforcement agents met with CS-l at an undisclosed
located where he and his vehicle were searched and were found to be free on money and
contraband CS-l was provided with $7,400 in pre-recorded U.S. currency for the purchase
of six ounces of cocaine. Prior to leaving the undisclosed location, CS-l made a recorded call
to PERALTA-PEREZ and confirmed that the controlled purchase was planned as scheduled
CS-l was followed by law enforcement from the undisclosed located as he drove to the
Larkin Drive property. Shortly after arriving, PERALTA-PEREZ was observed arriving at
the residence operating the black Lincoln Navigator. CS-l and PERALTA-PEREZ were
observed speaking with each other briefly before entering the residence together. Afier a brief
period of time, CS-l exited the residence and entered his vehicle. CS-l was followed back to

l an undisclosed location where he immediately provided law enforcement with approximately
six ounces of suspected cocaine. CS-l and his vehicle were searched again and found to be
free of money and contraband CS-l confirmed he had purchased the cocaine directly from
MEJIA BENITEZ and that the mechanics of this purchase were the same as in previous buys.
The cocaine was submitted to the DEA Mid-Atlantic Laboratory for testing, storage, and
safekeeping The laboratory results indicated that the net weight contained approximately
165.98 grams of cocaine hydrochloride.
Traffr`c Stop and Identifr`cation of Peralta-Perez

30. On February 23, 2018, law enforcement conducted a ruse traffic stop on CS-l
to positively identify PERALTA-PEREZ. Prior to the stop, CS-l picked up PERALTA-
PEREZ at 5100 Sth Road South Arlington, VA 22204. ln addition to PERAhTA-PEREZ, an

unidentified Hispanic female believed to be his girlfi'iend entered the vehicle as well. At a

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pre-deterrnined location, the CS-l ’s vehicle was stopped for a traffic infraction During the
course of the traffic stop, law enforcement requested the identification of both PERALTA-
PEREZ and the unidentified female.

31. PERALTA-PEREZ provided law enforcement with a Virginia check-cashing
card in the name of lose A MEJIA LARA, with a date of birth of December 2, 1975 and a
listed address of 5112 7th Road #3 Arlington, Virginia 22204. The female passenger .
identified herself as Yudy Marisa ABARCA with a date of birth of January 29, 1993 and
provided an address of 5100 Sth Road South Apartment 507 Arlington, Virginia 22204. The
female passenger also identified herself as the wife of PERALTA-PEREZ. Law enforcement
investigation later revealed that ABARCA’s true identity as Yudy Mariza ABARCA-

CORVERA, a Hispanic female with a date of birth of January 29, 1993.

CS-I Controlled Purchase of Cocar'ne ji'om Mejia Benitez on May 7, 2018

32. On May 7, 2018, CS-l met with law enforcement at an undisclosed location to
conduct a controlled purchase of cocaine from MEJIA BENITEZ. CS-l had previously
contacted PERALTA-PEREZ to arrange for three ounce of cocaine, with an agreed upon
price of $3,900. Several hours before the planned purchase, the CS spoke with PERALTA-
PEREZ who informed him that he would not be there for the buy and that he should deal with
MEJIA BENITEZ directly. CS~l and their vehicle were Search and Were found to be free of
money and contraband ~CS-l was provided with $3,900 in pre-recorded U.S. currency for the
purchase of cocaine. Prior to leaving the undisclosed location, law enforcement had

established surveillance in the area of the Larkin Drive property. Law enforcement observed

MEJIA BENITEZ going in and out of the Larkin Drive property. Additionally MARTINEZ

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CONSTANZA and their two children were observed going _in and out of the residence as
wau.

33. As CS-l arrived at the Larkin Drive property, he exited his vehicle and
approached MEJIA BENITEZ while he was outside. MEJIA BENITEZ explained to CS-l
that he was out of cocaine but was expecting a shipment later that evening MEJIA BENITEZ
explained that he could pick up an ounce of cocaine from his source now and he would
contact CS-l later that evening when the shipment came in. CS-l agreed and was advised by
MEJIA BENITEZ to wait at the Larkin l9nve property while he went to get the cocaine.

34. Surveillance units observed MARTINEZ CONSTANZA and MEJIA
BENITEZ enter a silver Acura and exit the driveway with MARTINEZ CONSTANZA
driving and MEJIA BENITEZ in the front passenger seat. Surveillance units followed the
vehicle as it traveled north toward Dale City, Virginia, ultimately stopping in front of 4467
Dale Boulevard Woodbridge, Virginia. MEJIA BENITEZ exited the vehicle and began
walking in the direction of the Dale Boulevard property. Dale Boulevard property). Due to
heavy traffic in the area, surveillance units were unable to maintain constant surveillance on
MEJIA BENITEZ. Several minutes later, surveillance units located MEJIA BENITEZ as he
was walking away from the Dale Boulevard property and entering the waiting silver Acura.
MEJIA BEINTEZ and MARTINEZ CONSTANZA were followed as they drove back to the
Larkin Drive property without deviation.

35. Shortly after MEJIA BENITEZ returned to the Larkin_Drive property,“_CS-Il k
exited the residence entered his vehicle. CS-l was followed back to anundrsclosed locatlon
where he immediately provided law enforcement with approximately one ounce of suspected

cocaine and the remaining unused pre-recorded U.S. Currency. CS-l and his vehicle were

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searched again and found to be free of additional money and contraband CS-l continued
with law enforcement that the cocaine was purchased directly for MEJIA BENITEZ. The
cocaine was submitted to the DEA Mid-Atlantic Laboratory for testing, storage, and
safekeeping The laboratory results indicated that the net weight contained approximately
28.12 grams of cocaine hydrochloride.

Surveillance at 4463 Dale Bottlevard Woodbridge, Virginia

36. During the week of June 15, 2018, law enforcement conducted surveillance on
the Dale Boulevard property. During the observation period, law enforcement was able to
identify numerous vehicles parked in the driveway and on the street in front of the residence.
One vehicle of note was a dark-colored BMW bearing Virginia Registration UZJ-9489. A v
query with the Virginia Department of Motor Vehicles shows the BMW is registered to an
unindicted co-conspirator (UCC-Z) a Hispanic male with a birth date of April 22, 1994, with a
listed address of 4463 Dale Boulevard Woodbridge, Virginia 22193. The law enforcement
databases also showed that on June 7, 2018, UCC-2 was arrested for driving while intoxicated
in Leesburg, Virginia. Additionally, UCC-2 has had numerous interactions with law
enforcement, During some of these interactions, UCC-2 provided the phone number of 571 -
363-5055 to law enforcement,

37. Law enforcement served administrative subpoenas on MEJIA BENITEZ’s
number and the number used by UCC-2 requesting subscriber information and call detail
records. The records showed that the number used by UCC-2 was registered to Moran’s
Refrigeration Service of Alexandria, Virginia. It should be noted that in previous encounters

with law enforcement, UCC-2 has identified that he is employed by Moran’s Refrigeration

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Service. In June 2018, UCC-2 was in an accident in Washington, D.C., operating a vehicle
owned by Moran’s Refrigeratiori Service.

38. Toll analysis on the call detail records was also conducted on records provided
by the administrative subpoena. The analysis showed that the phone number used by UCC-Z
was a frequent contact of MEJIA BENITEZ and has been throughout this investigation,

Arrest of Peralta-Perez on June 23, 2018

39. On June 23, 2018, PERALTA-PEREZ was arrested by the Virginia State
Police for driving while under the influence of alcohol. At the time of his arrest, PERALTA-
PEREZ provided law enforcement with the name of Jose MEJIA LARA and a date of birth of
Febr_uary 2, 1975. ARer his arrest, a criminal history was run on Jose MEJIA LARA, a white
Hispanic male with a date of birth of February 2, 1975, and a FBI number of 35753TA1. The
criminal history revealed that Jose MEJIA LARA was an alias for Minor Adermi PERALTA-
PEREZ, a Hispanic male with a date of birth of August 28, 1974. Law enforcement compared '

j a photograph of Jose MEJIA LARA and Minor PERALTA-PEREZ and continued that they
were the same person.
CS-I Controlled Purchase of Cocaine ji'om Mejia Bem'tez on July 5, 2018
' 40. On July 5, 2018, CS-l met with law enforcement to conduct a controlled
purchase of cocaine from MEJIA BENITEZ. CS-l had previously contacted ABARCA-
CORVERA and arranged to purchase five ounces of cocaine from MEJIA BENITEZ. CS-l
and his vehicle were searched and found to be free of money and contraband CS-l was then
provided with $6, 500 1n pre-recorded U. S. currency and audio recording and transmrttmg
equipment Prior to leaving the undisclosed location, CS 1 contacted AlBARCA CORVERA l

to confirm that the purchase was still on. Shc informed him that she was at work, but that he

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should contact MEJIA BENITEZ directly and confirm with him. While on the phone with
MEJIA BENITEZ, he explained to CS-l that he currently only had an ounce of cocaine for
sale. At the direction of law enforcement, CS-l agreed to purchase the one ounce of cocaine
from MEJIA BENITEZ.

.41. CS-l was followed by law enforcement from the undisclosed location to the
Larkin Drive property. After arriving CS-l was observed entering the residence through the
front door. While CS-l was inside, a dark-colored BMW bearing Virginia registration UZJ-
9489 arrived at the residence and a Hispanic male, believed to be UCC-2, wearing a black
shirt and his hair in a “bun” on the top of his head entered the residence. Surveillance units
were shown an unidentified photograph of UCC-2 and confirmed that the subject who had
arrived in the BMW and who had just entered the Larkin Drive property was UCC-2. While
inside the residence, law enforcement monitored the conversations of the subjects inside
Larkin Drive property.

42. After a short period of time, CS-l exited the residence and was followed back
to an undisclosed location where he immediately provided law enforcement with
approximately one ounce and 3.5 grams of cocaine and the remaining $5,020 in pre-recorded
U.S. currency. CS-l and his vehicle were searched again and found to free of money and
contraband CS-l confirmed that he had purchased the cocaine directly from MEJIA
BENITEZ. CS-l said to law enforcement that MEJlA BENITEZ explained to him that his
source of supply had just recently been arrested for driving while intoxicated and because of
' that he was “paranoid and laying low.” CS-l further explained that the Hispanic male,
identified as UCC-2, also said that he had just recently been arrested for a DWI in Loudon-'

County. MEJIA BENITEZ said that he has another source of supply in Washington, D.C.,

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but his source was not willing to make a delivery of cocaine until the following day. MEJIA
BENITEZ told CS-l that if he wanted he could contact him in the morning and they would
make arrangements to purchase the remaining four ounces of cocaine. The details of this
conversation were confirmed by law enforcement by the recording equipment worn by CS-l.
A small portion of the cocaine was field tested and the results were positive for the presence
of cocaine. The cocaine was submitted to the DEA Mid-Atlantic Laboratory for testing,
storage, and safekeeping The laboratory results indicated that the net weight contained
approximately 31 .36 grams of cocaine hydrochloride.
CS-1 Conlrolled Purchase of Cocaine from Mejia Benitez on July 6, 2018

43. On July 6, 2018, at the direction of law enforcement, CS-l contacted MEJIA
BENITEZ to conduct a purchase of the remaining four ounces of cocaine from the controlled
purchase the day prior. CS-l met with law enforcement at an undisclosed location, where he
and his vehicle were searched and found to be free of money and contraband CS-l was then
provided with $5,020 in pre-recorded U.S. currency and audio recording and transmitting
devices. Prior to CS-l ’s departure, law enforcement established surveillance in the area of the
SUBJECT PRRMISES. CS-l departed the undisclosed location and was followed to the
Larkin Drive property. Atter arriving, CS-l entered the residence where he could be heard
talking to MEJIA BENITEZ. At approximately 6: 12 PM, surveillance units observed the
dark-colored BMW, with Virginia _Registration UZJ-9489, turning down Larkin Drive and
parking near the Larkin Drive property. Two minutes later, the dark-colored BMW was seen

driving away from the Larkin Drive property with surveillance units following Law _

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enforcement was able to positively identify the driver of the dark-colored BMW as UCC-2 1 1

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44. Shortly after the UCC-2 left, CS_-l exited the residence and was followed by
law enforcement to an undisclosed location where he immediately provided law enforcement
with approximately four ounces of suspected cocaine, $20 in unspent pre-recorded U.S.
currency, and the audio recording and transmitting devices. CS-l and his vehicle were
searched and found to be free of money and contraband CS-l explained that shortly after he
arrived, MEJIA BEINTEZ made a phone call to his source asking for five ounces of cocaine.
MEJIA BEINTEZ then explained that his source would be arriving in approximately 25
minutes. Approximately 20 minutes later, MEJlA BENITEZ said his source_was close and he
requested the money from CS-li Afier counting the money, MEJIA BENITEZ told CS-l he
would be right back and left leaving CS-l inside the Larkin Drive property. Approximately l
three minutes later, MEJIA BEINITEZ returned with a bag containing approximately five
ounces of cocaine. MEJIA BENITEZ weighed out one ounce for himself and gave the
remaining four ounces to CS-l . A small portion of the suspected cocaine was field tested and
the results were positive for the presence of cocaine. The cocaine was submitted to the DEA
Mid-Atlantic Laboratory for testing, storage, and safekeeping 'l`he laboratory results
indicated that the net weight contained approximately ll 1.49 grams of cocaine hydrochloride.

45. While CS-l was being debriefed, surveillance continued to follow UCC-2 in
the dark-colored BMW, UCC-2 was followed from the Larkin Drive property to a shopping
center in Woodbridge, Virginia. Surveillance units briefly lost sight of UCC-2, as he entered
a store in the shopping center. A short time later, UCC-2 was observed entering the BMW
and exiting the parking lot. UCC-Z was followed as he traveled from the shopping center and

drove directly to the Dale Boulevard property, where he parked on the street in front of the

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residence. UCC-2 was observed exiting the vehicle and entering the front door of the Dale
Boulevard property using a key.

46. After the controlled purchase, law enforcement reviewed the audio recording
of the controlled purchase. At approximately 5:37 PM, MEJlA BENITEZ could be heard
talking on the phone asking his source to bring him 5, referring to the five ounces of cocaine
hydrochloride. Af’cer the making the phone call, MEJIA BENITEZ explained to CS-l that his
source would be there in approximately 25 minutes At approximately 5:58 PM, MEJIA
BEINTEZ was heard asking the CS for the money, stating his source would be arriving in
seven minutes. At approximately 6:09 PM,'MEJIA BENITEZ told CS-l he needed to step
outside for two minutes. At approximately 6:13 PM, MEJlA BENITEZ’s voice could be
heard back inside the house,

47. Law enforcement served an administrative subpoena on the phone number
used by MEJIA BENITEZ, requesting call detail records. An analysis of the call detail
records continued that at 5:37 PM, MEJIA BENITEZ made an outgoing phone call to UCC-
2, on 571-363-5055. The phone call was one minute and 10 seconds in length and the time of
the call matched the time stamp provided on the audio recording equipment worn by CS-l
during the controlled purchase.

48. Af`ter the controlled purchases, CS-l was shown an unidentified photograph of
UCC-?.. CS-l confirmed that UCC-2 was the subject who was inside the Larkin Drive
property on July 5th and was the same individual said that he had recently been arrested for

_DWI in Loudon County. CS-l further said that he believed that UCC-2 was MEJIA
BENITZ’S source of supply and he believed that UCC-2 had just dropped off the cocaine to

MEJIA BEINTEZ.

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49. Afier the controlled purchase, law enforcement served an administrative
subpoena on the phone number used by MEJIA BENITEZ, requesting call detail records, An`
analysis of the call detail records continued that MEJIA BENITEZ spoken to UCC-2, on 571-
363-5055, just prior to him arriving at the Larkin Drive property on'.luly 6, 2018. Toll records
show more than 1,200 calls between MEJIA BENITEZ and UCC-2 during the period June
2017 to August 2018,

50. In early August 2018, CS-l contacted MEJIA BENITEZ to arrange the
purchase of two ounces of cocaine. On August 13, 2018, MEJIA BENITEZ informed CS-l
that he will have the two ounces available the following day (August 14, 2018). MEJIA
BENITEZ told CS-l that this cocaine will be coming from “a new guy” and that it would cost
$100 more than the prior transactions CS-l confirmed that the amount and price of the
cocaine was acceptable.

51. On August 14, 2018, The Honorable Michael lS. Nachmanoff issued a search
warrant for the premises at 17235 Larkin Drive Dumfries, Virginia 22026 in conjunction with
the ongoing investigation of MEJIA BENITEZ.

52. l._,ater in the evening on August 14, 2018, CS-l met with law enforcement to
conduct a controlled purchase of cocaine from MEJIA BENITEZ. CS- 1t and his vehicle were
searched and found to be free of money and contraband CS-l was then provided with $2,550
in pre-recorded U.S. currency and audio recording and transmitting equipment At
approximately 6:57 p.m., CS-l entered the Larkin Drive property and purchased 2 ounces of
cocaine from MEJIA BENITEZ. The CS-l asked MEJIA BENITEZ‘. for an additionally y _ _
quantity of cocaine. MEJIA stated he could provide additional cocaine afier meetingwrth his "

source of supply later in the evening Aher a short period of time, CS-l exited the residence

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and was followed back to an undisclosed location where he immediately provided law
enforcement with approximately 2 ounces of cocaine. CS-l and his vehicle were searched
again and found to free of money and contraband CS-l continued that he had purchased the
cocaine directly from MEJIA BENITEZ. The submission of the cocaine is pending to the
DEA Mid-Atlantic Laboratory.

53. On August 14, 2018 at approximately8:40 p.m., the search warrant was
executed at the Larkin Drive property. Law enforcement arrested MEJIA BENITEZ during
the execution of this search warrant The $2,550 USC of evidentiary buy funds were
recovered from Mej ia Benitez’s bcdroom. Also recovered from the bedroom was additional
cocaine, packaging supplies, a digital scale, a Smith and Wesson handgun, and a hand written
ledger believed to be a pay-owe sheet MEJIA BENITEZ signed a DEA-13 Advice of rights
form and agreed to talk to investigators and among other things stated he is a seller of cocaine
_ and obtains his cocaine from his primary source of supply who is located in the District of
Columbia. MEJIA BENITEZ also stated he has received cocaine from UCC-2 in the past,

which he resells for profit

CONCLUSION
Based on the facts outlined above, there is probable cause to believe that from in and_
around June 2017, through on or about August 14, 2018, within the Eastem District of Virginia
and elsewhere, MYNOR ALEXANDER_MEJIA BENITEZ, a/k/a “Mynor Alexander Mejia,”
and MINOR ADERMI liERALTA-PEREZ, a/k/a "‘Amilcar Lara,” a/k/a “Jose Mejia Lara,

knowingly and intentionally combined conspired, confederated, and agreed with others, known

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and unknown, to distribute cocaine, a Schedule ll controlled substance, in violation of Title 21,

United States Code, Sections 841(a)(l) and 846.

/,Z{éd) »/%C>"

/iziohard o. o'Donnen
Task Force Officer
Drug Enforcement Administration

 

Sworn and subscribed to before me this /§Lday of August 201 8.

/s/ r.
Michael S. Nachmanoff
United States Magistrate Judge
The Honorable Michael S. Nachmanoff
United States Magistrate Judge

 

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